               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,          DOCKET NO. 3:03 CR 231-MU

                      vs.           ORDER RE: DEFENDANT’S
                                    APPLICATION TO FILE HIS
ENRIQUE BARRAGAN CONTRERAS, et. al, POSITION RE: SENTENCING;
                                    EXHIBIT UNDER SEAL




      GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the

document, “defendant’s Position Re: Sentencing; Exhibit Filed Under Seal” shall be filed

under seal.

                                                Signed: May 22, 2006




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                            CERTIFICATE OF SERVICE

       I, Angela Parrott, Assistant Federal Defender, hereby certify that on May 19, 2006,
I served a copy of the attached Ex Parte Application To File [Proposed] Order Re:
Defendant’s Position Re: Sentencing, Exhibit under seal, via electronic filing upon:

                           Kevin Zolot
                           Assistant United States Attorney
                           U.S. Attorney’s Office for the Western District of
                           North Carolina
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DATE: May 19, 2006




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